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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE USJULZQ AH 7; 00
WESTERN DIVISION

 

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JOHN SPAIN,
Plaintiff,
vs. Civ. No. 05-2240-M1[P

WAL-MART STORES, INC..

Defendant.

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ORDER DENYING WITHOUT PREJUDICE PLAINTIFF’S MOTION FOR LEAVE OF
COURT TO FILE FIRST AMENDED COMPLAINT

 

Before the court is plaintiff's Motion for Leave of Court to
File First Amended Complaint, filed July 26, 2005 (dkt #7). A
review of the record reveals that the plaintiff did not file a
certificate of consultation. with. his motion. Local Rule 7.2
requires that

“[a]ll motions . . . shall be accompanied by a
certificate of counsel . . . affirming that,
after consultation between the parties to the
controversy, they are unable to reach an
accord. as to all issues or that all other
parties are in agreement With the action
requested by the motion.” Local Rule
7.2(a)(1)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, plaintiff's motion is DENIED, without prejudice.

Thls document entered on the docket sheet in compliance
with Rule 58 andfor 79(a) FRCP on ' ’LJ

 

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The plaintiff may renew his motion by refiling it with a

certificate of consultation in compliance with Local Rule 7.2.

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TU M. PHAM‘ _
United States Magistrate Judge

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IT IS SO ORDERED.

Date

 

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This notice confirms a copy of the document docketed as number 8 in
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Honorable J on McCalla
US DISTRICT COURT

